Case 2:19-cv-00155-JRS-DLP Document 1 Filed 04/02/19 Page 1 of 7 PageID #: 1



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    TERRE HAUTE DIVISION


 ANGELA VAUGHN
                                                      CASE NO.: 2:19-cv-00155
                     Plaintiff,
                                                      JUDGE:
         -v-

 ENHANCED RECOVERY COMPANY, LLC                       COMPLAINT
                                                      JURY DEMAND ENDORSED HEREON
                     Defendant.


      Plaintiff, Angela Vaughn, for her complaint against Enhanced Recovery Company, LLC

(“Defendant”), states as follows:

                                     NATURE OF THE ACTION

       1.      Plaintiff brings this action seeking damages pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and the Indiana Deceptive Consumer Sales

Act, I.C. 24-5-0.5 et seq. (“IDCSA”), for Defendant’s unlawful collection practices as described

more fully in this complaint.

                                    JURISDICTION AND VENUE

       2.      This action arises under and is brought pursuant to the FDCPA. Subject matter

jurisdiction is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331,

1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists for

the state law claim pursuant to 28 U.S.C. § 1367.

       3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts

business in the Southern District of Indiana and the events and/or omissions giving rise to the

claims made in this complaint occurred within the Southern District of Indiana.


                                                 1
Case 2:19-cv-00155-JRS-DLP Document 1 Filed 04/02/19 Page 2 of 7 PageID #: 2



                                              PARTIES

       4.      Plaintiff, Angela Vaughn (“Ms. Vaughn”), is a natural adult person residing in

Terre Haute, Indiana, which lies within the Southern District of Indiana.

       5.      Ms. Vaughn is a “consumer” as that term is defined by § 1692a(3) of the FDCPA.

       6.      Ms. Vaughn is a “person” as that term is defined by § 24-5-0.5-2(a)(2) of the

IDCSA.

       7.      Defendant, Enhanced Recovery Company, LLC, is a foreign limited liability

company incorporated in Delaware that is in the business of collecting consumer debts on behalf

of others within the State of Indiana and throughout the United States. As such, Defendant

regularly uses the mails and/or telephone to collect, or attempt to collect, delinquent consumer

accounts.

       8.      In its communications to consumers, Defendant identifies itself as a “debt collector.”

       9.      Defendant is a “debt collector” as that term is defined by § 1692a(6) of the FDCPA.

       10.     Defendant is a “supplier” as that term is defined by § 24-5-0.5-2(a)(3) of the

IDCSA.

       11.     Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and/or insurers at all

times relevant to this action.

                                 FACTS SUPPORTING CAUSES OF ACTION

       12.     Ms. Vaughn obtained a copy of her credit report and noticed Defendant reporting a

delinquent debt originally owed to Charter Communications for $242.00 (the “Subject Debt”).

Relevant pages from Ms. Vaughn’s Experian credit report, dated March 7, 2019, are attached to

this complaint as Exhibit A.


                                                  2
Case 2:19-cv-00155-JRS-DLP Document 1 Filed 04/02/19 Page 3 of 7 PageID #: 3



       13.     On or around March 7, 2019, Ms. Vaughn accessed Defendant’s website

(https://pay.ercbpo.com/app/default.aspx) to obtain more information about the Subject Debt that

was in collections (the “Payment Portal”). A screenshot of the Payment Portal is attached to this

complaint as Exhibit B.

       14.     The Payment Portal also provides payment details with two tabs to which Ms.

Vaughn could select to obtain further details: “Pay balance in Full,” and “Contribute towards your

balance” See Exhibit B.

       15.     On the Payment Portal, in order to accept payment from Ms. Vaughn, Defendant

demanded a “Convenience Fee” of “$9.95” (the “Convenience Fee”). See Exhibit B.

       16.     The excessive Convenience Fee demanded by Defendant on the Payment Portal is

not expressly permissible pursuant to any underlying contract between Ms. Vaughn and her

original creditor or as a matter of law. See Exhibit B. The inclusion of a Convenience Fee created

a false, deceptive and misleading representation as to the actual amount owed.

       17.     After a reasonable time to conduct discovery, Ms. Vaughn trusts she can prove that

all actions by Defendant as defined in this complaint were taken willfully and/or with knowledge

that its actions were taken in violation of the law.

                                              DAMAGES

       18.     Ms. Vaughn was misled by Defendant’s collections actions on the Payment Portal

as the Payment Portal charged an impermissible convenience fee.

       19.     Ms. Vaughn justifiably fears that, absent this Court’s intervention, Defendant will

continue to use unlawful methods and/or means in its attempts to collect the Subject Debt from

her and that Defendant will continue to attempt to collect an impermissible convenience fee.




                                                  3
Case 2:19-cv-00155-JRS-DLP Document 1 Filed 04/02/19 Page 4 of 7 PageID #: 4



       20.     As a result of Defendant’s conduct, Ms. Vaughn was forced to hire counsel and her

damages therefore include reasonable attorneys’ fees incurred in prosecuting this action.

       21.     As a result of Defendant’s conduct, Ms. Vaughn is entitled to statutory damages,

punitive damages and all other appropriate measures to punish and deter Defendant and other debt

collection agencies from engaging in the unlawful collection practices described herein.

                                 GROUNDS FOR RELIEF
                                         COUNT I
                  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. §§ 1692e, e(2)(A), e(10) and f

       22.     All prior paragraphs are incorporated into this count by reference.

       23.     The FDCPA states, in relevant part:

                    “A debt collector may not use any false, deceptive, or misleading
                   representation or .means in connection with the collection of any debt.
                   Without limiting the general application of the foregoing, the following
                   conduct is a violation of this section: (2) The false representation of --
                   (A) the character, amount, or legal status of any debt; (10) The use of
                   any false representation or deceptive means to collect or attempt to
                   collect any debt or to obtain information concerning a consumer.” 15
                   U.S.C. §§ 1692e, e(2)(A) and e(10).

                   “A debt collector may not use unfair or unconscionable means to collect
                   or attempt to collect any debt.” 15 U.S.C. § 1692f.

       24.     Defendant violated 15 U.S.C. § 1692e, e(2)(A), e(2)(B), e(10), f and f(1) in

demanding a “Convenience Fee” on its Payment Portal. This fee is not authorized by any

agreement or otherwise, and therefore Defendant’s attempt to collect these fees without any further

explanation of what that balance represented. Upon information and belief, Defendant was not

entitled to collect the “Convenience Fee” from Ms. Vaughn in connection with the Subject Debt,

ultimately attempting to induce a greater payment from her than it is otherwise entitled to collect.

       25.     Defendant knows that its representations to consumers concerning the fees being

collected, and the consumer’s rights under the FDCPA cannot be false, deceptive and/or

                                                 4
Case 2:19-cv-00155-JRS-DLP Document 1 Filed 04/02/19 Page 5 of 7 PageID #: 5



misleading. In this case, Defendant attempted to collect a “$9.95” Convenience Fee, above and

beyond the $242.00 owed on the underlying Subject Debt. See Exhibits B. This Convenience Fee

is impermissible and is an unfair practice as it is not authorized by an agreement or as a matter of

law.

       26.     As set forth in paragraphs 18 through 21 above, Ms. Vaughn has been harmed and

has suffered damages as a result of Defendant’s unlawful collection practices as described herein.

                                          COUNT II
                 VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT
                              I.C. §§ 24-5-0.5-3(a) and (b)(20)

       27.     All prior paragraphs are incorporated into this count by reference.

       28.     The IDCSA states, in relevant part:

                   “A supplier may not commit an unfair, abusive, or deceptive act,
                   omission, or practice in connection with a consumer transaction. Such
                   an act, omission, or practice by a supplier is a violation of this chapter
                   whether it occurs before, during, or after the transaction. An act,
                   omission, or practice prohibited by this section includes both implicit
                   and explicit misrepresentations.” I.C. § 24-5-0.5-3(a).

                   “Without limiting the scope of subsection (a), the following acts, and
                   the following representations as to the subject matter of a consumer
                   transaction, made orally, in writing, or by electronic communication, by
                   a supplier are deceptive acts: The violation by a supplier of the federal
                   Fair Debt Collection Practices Act (15 U.S.C. 1692 et seq.), including
                   any rules or regulations issued under the federal Fair Debt Collection
                   Practices Act (15 U.S.C. 1692 et seq.).” I.C. § 24-5-0.5-3(b)(20).

                   “A person relying upon an uncured or incurable deceptive act may bring
                   an action for the damages actually suffered as a consumer as a result of
                   the deceptive act or five hundred dollars ($500), whichever is greater.
                   The court may increase damages for a willful deceptive act in an amount
                   that does not exceed the greater of: (1) three (3) times the actual
                   damages of the consumer suffering the loss; or (2) one thousand dollars
                   ($1,000).” I.C. § 24-5-0.5-4(a)(1)(2).

       29.     Defendant’s collection activity in connection with the Subject Debt is a “consumer

transaction” as that term is defined by the IDCSA at I.C. § 24-5-0.5-2(a)(1)(C).

                                                 5
Case 2:19-cv-00155-JRS-DLP Document 1 Filed 04/02/19 Page 6 of 7 PageID #: 6



       30.     Defendant engaged in unfair, abusive, and deceptive conduct in its transactions with

Ms. Keeler, in violation of I.C. §§ 24-5-0.5-3(a) and (b)(20), by, inter alia: Defendant knew the

Convenience Fee is impermissible as it is not pursuant to an underlying agreement with the original

creditor nor as a matter of law. Defendant intended Ms. Vaughn rely on its misrepresentations

and/or deceptive means in order to induce payment for more than the Subject Debt.

       31.     Defendant intended that Ms. Vaughn rely on its misrepresentations and/or

omissions in order to procure immediate payment of the Subject Debt. As such, Defendant

committed a “willful deceptive act” as that term is used and/or contemplated within the IDCSA.

       32.     As set forth in paragraphs 18 through 21 above, Ms. Vaughn has been harmed and

has suffered damages as a result of Defendant’s unlawful collection practices as described herein.

       33.     Ms. Vaughn is therefore entitled to relief pursuant to I.C. § 24-5-0.5-4(a)(1)(2).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Angela Vaughn, respectfully requests that this Court enter

judgment in her favor as follows:

          A. Awarding Plaintiff actual damages, in amounts to be determined at trial, as
             provided under 15 U.S.C. § 1692k(a)(1) and I.C. § 24-5-0.5-4(a)(1)(2);

          B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided
             under 15 U.S.C. § 1692k(a)(2)(A);

          C. Awarding Plaintiff statutory damages, in an amount to be determined at trial, as
             provided under I.C. § 24-5-0.5-4(a)(1)(2);

          D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as
             provided under 15 U.S.C. § 1692k(a)(3); and

          E. Awarding Plaintiff any other relief as this Court deems just and appropriate.




                                                 6
Case 2:19-cv-00155-JRS-DLP Document 1 Filed 04/02/19 Page 7 of 7 PageID #: 7



DATED this 2nd day of April, 2019.                    Respectfully Submitted,

                                                        /s/ H. Joshua Chaet
                                                      H. Joshua Chaet #6206717
                                                      David S. Klain #0066305
                                                      CONSUMER LAW PARTNERS, LLC
                                                      333 N. Michigan Ave., Suite 1300
                                                      Chicago, Illinois 60601
                                                      (267) 422-1000 (phone)
                                                      (267) 422-2000 (fax)
                                                      josh.c@consumerlawpartners.com

                                                      Counsel for Plaintiff


                                         JURY DEMAND

    Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                      /s/ H. Joshua Chaet
                                                     H. Joshua Chaet #6206717
                                                     CONSUMER LAW PARTNERS, LLC




                                                 7
